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                                      ARREARAGES


                   #16             #59          #352
July 2006          478.00          358.00       309.00
August 2006        478.00          358.00       309.00
September 2006     478.00          358.00       309.00
October 2006       478.00          358.00       309.00
November 2006      478.00          358.00       309.00
December 2006      478.00          358.00       309.00
January 2007       517.00          376.00       325.00
February 2007      517.00          376.00       325.00
March 2007         517.00          376.00       325.00
April 2007         517.00          376.00       325.00
May 2007           517.00          376.00       325.00
June 2007          517.00          376.00       325.00
July 2007          517.00          376.00       325.00
August 2007        517.00          376.00       325.00
September 2007     517.00          376.00       325.00
October 2007       517.00          376.00       325.00
November 2007      517.00          376.00       325.00

TOTAL            $8,555.00       $6,284.00    $5,429.00

GRAND TOTAL                  $20, 268.00




                                                                         EXHIBIT F



#742397v.1
